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EXHIBIT 3 D
PROPERTY VALUES ON ARVEST LOANS AND LIQUIDATION ANALYSIS



                                                            Liquidated
                        Fair Market    Units in Value Per Value is 70% of
Properties in Portfolio    Value      Portofolio  Unit    Fair Mkt Value
          39            $ 1,484,900       55     $26,998       $1,039,430
       Arvest                                                     70.00%


                      Fair Market                            Liquidated
       Address           Value    Units in Lot    Loan #        Value
1016 N GRANT AVE      $    31,400      1         1705360          $21,980
1024 E Scott St       $    50,300      1         4064848          $35,210
1033 W High St        $    42,400      1         4064848          $29,680
1313 N Clifton Ave    $    43,000      1         4064848          $30,100
2055 N Newton Ave     $    37,300      1         4064848          $26,110
2232 N Howard Ave     $    37,900      1         4064848          $26,530
423-435 W Division St $ 135,000        4         4064848          $94,500
831 W Scott St        $    25,000      1         4064848          $17,500
1015 N Newton Ave     $    28,400      1         4243330          $19,880
1121 W Elm Arcade St $     63,400      3         4243330          $44,380
1206 N Clifton Ave    $    26,800      1         4243330          $18,760
1207 W Webster St     $    41,100      1         4243330          $28,770
1315 W Mt Vernon St $      31,700      1         4243330          $22,190
1433 E Blaine St      $    23,900      1         4243330          $16,730
1452 N Prospect Ave   $    19,500      1         4243330          $13,650
1531 W Webster St     $    27,400      1         4243330          $19,180
1628 N Irving Ave     $    30,400      1         4243330          $21,280
1629-1631 N Sherman Ave
                      $    48,200      2         4243330          $33,740
1715 N National Ave   $    33,800      1         4243330          $23,660
2020 W Division St    $    27,700      1         4243330          $19,390
2028 W Division St    $    27,000      1         4243330          $18,900
2120 N Kansas Ave     $    41,400      1         4243330          $28,980
2143 N Benton Ave     $    28,800      1         4243330          $20,160
2267 N Lyon Ave       $    22,900      1         4243330          $16,030
2325 N Ramsey Ave     $    39,900      1         4243330          $27,930
2532 N East Ave       $    26,900      1         4243330          $18,830
2856 W Harrison St    $    24,700      1         4243330          $17,290
3010 W Walnut St      $    37,400      1         4243330          $26,180
3220 N Howard Ave     $    94,300      4         4243330          $66,010
3222-3224 N Howard Ave$       -        0         4243330                  $0
4346 W Maple St       $    21,000      1         4243330          $14,700
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501 N West Ave       $  27,000      1      4243330           $18,900
519 E Dale St        $  22,900      1      4243330           $16,030
610 E Logan St       $ 173,800      1      4243330          $121,660
675 E South St       $     -        10     4243330                $0
678 E South St       $     -        0      4243330                $0
800 W Della St       $  32,500      1      4243330           $22,750
902 E Garfield St    $  24,100      1      4243330           $16,870
911 S Missouri Ave   $  35,700      1      4243330           $24,990


                                          Liquidated Value $1,039,430
                     $ 1,484,900
